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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA,                     :
                                              :
v.                                            :       Criminal Case No. 1:18-CR-457 (AJT)
                                              :
BIJAN RAFIEKIAN, et al.                       :


                    MOTION TO ADJOURN PRE-TRIAL MOTIONS AND
                         REQUEST A STATUS CONFERENCE

         For the reasons set forth below, Mr. Rafiekian moves the Court to (1) adjourn sine die the

April 15, 2019 deadlines to file all pre-trial motions and notice pursuant to Section 5 of the

Classified Information Procedures Act (“CIPA”), and (2) schedule a status conference to discuss

and set new dates for these filings.

         On April 10, 2019, counsel for the government informed counsel for Mr. Rafiekian that

its review of classified documents was taking longer than expected. The government further

acknowledged that it would be unreasonable to require Mr. Rafiekian to provide notice pursuant

to CIPA Section 5 by the April 15, 2019 deadline. The government explained it would like to

schedule a status conference to discuss these issues with the Court.

         On March 5, 2019, Mr. Rafiekian issued subpoenas to non-parties Covington & Burling

LLP (“Covington”) and Kristen Verderame for the entire client files related to their

representation of Flynn Intel Group, Inc. (“FIG”). On April 9, 2019, this Court denied

Covington’s and Verderame’s motions to quash the subpoenas and ordered that they produce all

documents responsive to the subpoenas by April 20, 2019, five days after the current pre-trial

motion deadline. Covington’s and Verderame’s client files will likely contain important

information regarding FIG’s registration under the Foreign Agents Registration Act (“FARA”),

which forms the basis of the government’s charges against Mr. Rafiekian. That information will
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also likely contain information regarding FIG’s purported waiver of attorney-client privilege,

which may provide grounds for a motion to suppress. In addition, the subpoenaed material may

reveal additional grounds for pre-trial motions currently unknown to Mr. Rafiekian. Because,

under the current schedule, Mr. Rafiekian will not receive the subpoenaed material from the

Covington and Verderame until five days after the pre-trial motion deadline, an extension of this

deadline is appropriate.

       For the foregoing reasons, Mr. Rafiekian requests that the Court to (1) adjourn sine die

the April 15, 2019 deadlines with respect to all pre-trial motions and notice pursuant to Section 5

of the Classified Information Procedures Act (“CIPA”), and (2) schedule a status conference to

discuss and set new dates for these filings.

Dated: April 12, 2019                                Respectfully submitted,

                                                     /s/ Mark J. MacDougall
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 12th day of April 2019, true and genuine copies of Defendant

Bijan Rafiekian’s Motion to Adjourn Pre-Trial Motions and Request a Status Conference were

sent via electronic mail by the Court’s CM/ECF system to the following:

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                                                    /s/ Robert P. Trout
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